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                                              STATE OF NEW YORK
                                        OFFICE OF THE ATTORNEY GENERAL


 LETITIA JAMES                                                                                     DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                          LITIGATION BUREAU


                                            Writer Direct: 518-776-2578

                                                     March 1, 2022
    VIA CM/ECF
    Hon. Daniel J. Stewart
    James T. Foley U.S. Courthouse
    445 Broadway, Room 441
    Albany, NY 12207

    Re:     Lilkendey v. SONY et al.
            Northern District of New York
            21-CV-1355 (GTS)(DJS)

    Dear Judge Stewart:

           Please accept this letter as a notice of appearance by the State of New York, the New York
    State Senate, the Joint Commission on Public Ethics, Senator Shelley Mayer, Senator Andrea
    Stewart-Cousins, Alejandra Paulino, Shontell Smith, Seth Agata and Dawn Harrington by and
    through the undersigned. In order to fully investigate the complaint and representational issues,
    the above defendants respectfully request that their time to respond to the complaint be extended
    to May 6, 2022.

            Thank you for your consideration of this matter.

                                                                   Respectfully,

                                                                   s/ Christopher J. Hummel
                                                                   Christopher J. Hummel
                                                                   Assistant Attorney General
                                                                   Bar Roll No. 519343
    cc:     VIA CM/ECF
            Julia Grace Lilkendey
            Plaintiff Pro Se
            211 Consaul Road
            Colonie, NY 12205




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